  
  

Case 2:18-mc-51223-PDB PagelD.389 Page 1of11

Andrew Stumpff

andrew@skalaw.com S q ' bf ' N S O N
734.747.7050 ext. 113 K E 2 P E a I, AN

)

Vv

444 5. MAIN STREET
ANN ARBOR, MICHIGAN 48104-2304

tel: 734-747-7050
fax: 734-747-8010

www.skalaw.com

October 20, 2014

via: email & overnight delivery

Ms. Susan Gilmore Fultz

Deputy Regional Director

Employee Benefits Security Administration
Ft. Wright Executive Building |

1885 Dixie Highway

Ft. Wright, KY 41011-2664

CONFIDENTIAL

Re: UAW-Chrysler National Training Center

Dear Ms. Fultz:

We are writing on behalf of our client UAW-Chrysler National Training Center (the
“Center”), in response to your August 7, 2014 letter to Mr. Jerome Hill, Counsel for the Center.

Your letter indicates that pursuant to the Secretary of Labor’s authority under the Employee
Retirement Income Security Act of 1974 (“ERISA”), the Employee Benefits Security Administration
(“EBSA”) seeks to undertake an investigation of the Center, including review of a number of
documents listed in your letter and interviews with representatives of the Center, which the letter
characterizes as an employee benefit plan.

As we have described in intervening telephone conversations with EBSA Investigator
Meghann Wilkinson, it is the Center’s position, based on the factual circumstances concerning its
structure and operation, that the Center is not an “employee benefit plan” within the meaning of
ERISA, and hence does not fall within the jurisdiction of EBSA. The Center exists as part of a
protocol for cooperation between International Union, United Automobile, Aerospace and
Agricultural Implement Workers of America (“UAW”) and Chrysler Group LLC (the “Company”) in
conducting various activities, none of which, nor the Center itself, constitutes an employee benefit
plan. Accordingly, jurisdiction for the investigation proposed in your letter is lacking, and we request
that EBSA’s request be withdrawn.

Lansing Office:
120 N. Washington Square #805
A T T O R N E ¥ 5 PRACT EC lN G Lansing, MI 48933

00508546.D0C-4 PENS!ON ANO EMPLOYEE BENEFITS LAW tel: 517 3244222
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.390 Page 2of11

Page 2
October 20, 2014

This letter is intended, at Ms. Wilkinson’s request, to describe and substantiate the factual
and legal basis for the above conclusion in detail, with supporting documentation.

Because the Center’s activities are diverse, a complete analysis requires enumerating and
providing analysis for each such activity separately regarding its status under ERISA’s definition of
“employee benefit plan.” This response proceeds by, first, providing a brief description of the
Center’s background and history, followed by a summary of relevant legal authorities. A detailed
enumeration of the the Center’s activities is then presented, with analysis as to the status of each such
activity under ERISA’s definition of “employee benefit plan.” Finally, attached to this letter is a set
of exhibits, comprising documents that support the factual descriptions in the letter itself, and which
are referenced where appropriate herein.

THE CENTER: BACKGROUND AND DESCRIPTION

The Center was organized in 1986 as a not-for-profit corporation, pursuant to a Memorandum
of Understanding (the ““MOU”) between UAW and Chrysler Corporation, the corporate predecessor
of the Company. On November 30, 1986, the Internal Revenue Service issued an exemption letter to
the Center, setting forth the Center’s tax-exempt status under Section 501(c)(5) of the Internal
Revenue Code. (See Exhibits: “Constitutive Documents” Items 1, 2 and 3.)

As indicated in the MOU, the object of the Center is to facilitate cooperation between UAW
and the Company across a broad range of activities, specific types of which have over the years been
added to or removed from the Center’s mssion. Currently the following activities, each of which is
discussed and explained in greater detail below and in relevant exhibits to this letter, are conducted
through or under the auspices of the Center (each separate activity will be referred to hereafter as an
Activity”):

New Hire Orientation

Publications

Artist at Work Exhibition

Diversity Activities

Workplace Violence Prevention

World Class Manufacturing Academy (“WCMA”)
Health and Safety Training and Research
Tuition Assistance Program (“TAP”)

Circle of Life Network

Employee Assistance Program (“EAP”)
Miscellaneous ad hoc additional conferences

Other activities which have in the past been conducted by the Center, but are not being
conducted currently, are:

e Apprenticeship Program (discontinued approximately 2003), which provided
opportunities for employees to gain certification in skilled trades.

e Product Quality Improvement Partnership (discontinued 2009), which involved ad hoc
instructional sessions conducted by at local facilities, including Company manufacturing

00508546,DOC-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelD.391 Page 3of11

Page 3
October 20, 2014

plants and other facilities, intended to to improve the quality of Company goods and
services.

e Regional Training Centers

The Center is financed exclusively by means of monthly cash transfers made directly by the
Company. Employees do not contribute to the Center’s finances, either by wage withholding or
otherwise. The amount of each month’s Company contribution to the Center is intended to reflect as
closely as practicable the Center’s expected expenses for the immediately ensuing month. Pursuant to
a letter agreement signed February 17, 2009, the Company and UAW, “the costs associated with
running the Center are now reduced to expense based draw requests.” (In a second letter agreement,
dated May 2, 2011, the Company and UAW reiterated the continuing effect of this arrangement for
an additional eight-year period, through the term of the 2015 collective bargaining agreement
between the Company and the Center.)

Accordingly, the Center does not accumulate financial assets over time; its available cash is
managed so as typically to represent the amount necessary, as of any given date, to meet its expected
outlays for approximately the next 30-60 days. UAW, the Company and the Center periodically
confer to adjust or redetermine the basis for monthly transfers so as more closely and immediately to
reflect the Center’s actual monthly needs. (In addition, the Company and the Center occasionally
agree upon new joint programs or initiatives and, in such cases, adjust the monthly fund transfers to
reflect the cost thereof.)

Exhibits regarding “Funding,” attached to this letter, contain detailed account statements
which evidence the pass-through effect of this financing system for March through August of 2014,
which is a representative period.

With respect to those Activities for which “participation” has meaning, individuals
participate by virtue of their status as employees of the Company. The Center does not believe
employees have any legal right to sue or otherwise enforce directly against the Center their right to
participate in any Activity.

DISCUSSION

Legal Authorities

Section 3(3) of ERISA defines an “employee benefit plan” as a plan that is either an
“employee welfare benefit plan” or an “employee pension benefit plan” or both. There does not
appear to be any question that neither the Center nor any of its Activities is a “pension plan” within
the meaning of ERISA. Therefore, the central issue for present purposes is whether the Center or an
Activity is an “employee welfare benefit plan” within the meaning of ERISA.

 

' Originally, pursuant to the MOU, the Center was financed in part by reference to amounts made available under a
definite formula based on overtime hours worked by members of UAW. Pursuant to the above-referenced
subsequent letter agreements between the Company and UAW, however, this arrangement was changed to the
purely expense-based approach described above, which continues in effect today.

00508546.D0C-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.392 Page 4of11

Page 4
October 20, 2014

ERISA Section 3(1) defines “employee welfare benefit plan” as follows:

(1) The terms “employee welfare benefit plan” and “welfare plan” mean any plan, fund, or
program which was heretofore or is hereafter established or maintained by an employer or by
an employee organization, or by both, to the extent that such plan, fund, or program was
established or is maintained for the purpose of providing for its participants or their
beneficiaries, through the purchase of insurance or otherwise,

(A) medical, surgical, or hospital care or benefits, or benefits in the event of sickness,
accident, disability, death or unemployment, or vacation benefits, apprenticeship or
other training programs, or day care centers, scholarship funds, or prepaid legal
services, or

(B) any benefit described in section 186 (c) of this title (other than pensions on
retirement or death, and insurance to provide such pensions).

The above reference to benefits described in Section 186(c) of Title 29 refers to Section 302(c) of the
Labor Management Relations Act (““LMRA”). As has been provided by regulation promulgated by
the Department of Labor (“DOL”):

Section 302(c) of the LMRA lists exceptions to the restrictions contained in subsections (a)
and (b) of that section on payments and loans made by an employer to individuals and groups
representing employees of the employer. Of these exceptions, only those contained in
paragraphs (5), (6), (7) and (8) describe benefits provided through employee benefit plans.
Moreover, only paragraph (6) describes benefits not described in section 3(1)(A) of the Act.
The benefits described in section 302(c)(6) of the LMRA but not in section 3(1)(A) of the
Act are ““* * * holiday, severance or similar benefits”. Thus, the effect of section 3(1)(B) of
the Act is to include within the definition of “welfare plan” those plans which provide
holiday and severance benefits, and benefits which are similar (for example, benefits which
are in substance severance benefits, although not so characterized).

DOL Reg. 2510.3-1(a)(3).

The ERISA definition has been elaborated in various court decisions, as well as DOL
guidance. In the seminal case of Donovan v. Dillingham, 688 F.2d 1367 (11" Cir. 1982), the Court of
Appeals for the Eleventh Circuit held that:

[A] “plan, fund, or program” under ERISA is established if from the surrounding
circumstances a reasonable person can ascertain the intended benefits, a class of
beneficiaries, the source of financing, and procedures for receiving benefits. To be an
employee welfare benefit plan, the intended benefits must be health, accident, death,
disability, unemployment or vacation benefits, apprenticeship or other training programs, day
care centers, scholarship funds, prepaid legal services or severance benefits; the intended
beneficiaries must include union members, employees, former employees or their
beneficiaries; and an employer or employee organization, or both, and not individual
employees or entrepreneurial businesses, must establish or maintain the plan, fund, or
program.

Id, at 1373.

00508546.DOC-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.393 Page 5of11

Page 5
October 20, 2014

The Dillingham case involved the purchase of insurance; the Court of Appeals held that the insurance
company or policy was itself at most only “a method of implementing a plan, fund, or program ...
but is not itself a plan.” /d. at 1375.

All the other U.S. Courts of Appeals, including the Court of Appeals for the Sixth Circuit,
whose jurisdiction includes the Center, have adopted the Dillingham analysis for determining the
existence of a “plan, fund or program.” See Int'l Resources Inc. v. New York Life Ins. Co., 950 F.2d
294 (6" Cir. 1992); Hughes v. Zurz, unpublished decision, 298 Fed. Appx. 404, 2008 U.S. App.
LEXIS 24758 (6"" Cir. 2008).

Federal courts have also considered the meaning of the terms “fund,” or “funded,” in the
context of determining whether a welfare benefit plan exists within the meaning of ERISA. For
example, in Wright Elec. v. Minn. State Bd. of Elec., 2002 U.S. Dist. LEXIS 5783, 27 EBC 2533 (D.
Minn. 2002); aff'd 322 F.3d 1025 (8" Cir. 2003), the court determined that an employer’s apprentice
plan, financed through a separate foundation whose expenses were borne by the employer, was not
“funded” because the foundation did not generally accumulate assets, but rather simply served as a
pass-through financing entity. The court concluded that “This type of funding scheme is simply not
the kind that Congress intended to sanction through ERISA.” Jd. at 16. Wright, and additional cases
involving similar circumstances, are discussed in greater detail below in the context of the Center’s
tuition assistance (“TAP”) Activity.

Summary Analysis

None of the Activities conducted through the Center constitutes an “employee benefit plan”
under ERISA under the above authorities. Even if any Activity were an employee benefit plan within
the meaning of ERISA, that would not mean the Center, itself, is a “plan” under ERISA. The Center
is an organization that carries out a cooperative protocol between the Company and UAW. As with
the insurance policy at issue in the Dillingham case, the Center could, as a matter of logic, at most be
only “a method of implementing a plan, fund, or program ... not itself a plan.”

A number of Activities, such as Publications or Diversity Activities, clearly do not involve
the extension to any employee or beneficiary of anything that could be characterized as an “employee
benefit” within the meaning of ERISA. These include, most straightforwardly, such Activities as
Publications or Diversity Activities. Other Activities, such as health and safety training, for example,
involve employee instruction on matters immediately relevant to proper performance of employees’
jobs. These Activities are analogous to any employer’s instructing any employee as to how he or she
is expected to perform his or her assigned tasks — simply formalized in the present case, and on a

large scale. Such instruction cannot be characterized as an “employee benefit” within the meaning of
ERISA.

To the extent any Activities could be characterized as extending such a benefit such as
“training,” they do not meet the definition of a “plan, fund or program” under the Dillingham test.
The WCMA, for example, involves ad hoc, single-purpose training events as requested by the

Company. In no sense would those “benefits,” if they are such, be reasonably ascertainable in
advance.

00508546.D0C-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.394 Page 6of11

Page 6
October 20, 2014

The Center itself, meanwhile, is simply an establishment for administering and facilitating
the Activities, and is in no sense itself a “plan, program or fund,” as interpreted in the above
authorities. It is not a “plan”: ascertainable “Center benefits” do not exist. Nor is the Center a “fund:”
No money is accumulated for employee benefit plan purposes, and no employee or beneficiary has
any interest in Company or Center funds pursuant to any Activity. As discussed further, below, in the
context of TAP, the case authority and the DOL’s own guidance, outlined above, preclude the
conclusion that a “pass-through” entity such as the Center could give rise to a “funded” plan.

We also note the existence of another potentially relevant regulatory provision, DOL. Reg. 29
CFR §2510.3-1(b)(i), which provides:

(i) Industry advancement programs. For purposes of Title I of the Act and this chapter, the
terms “employee welfare benefit plan” and “welfare plan” shall not include a program
maintained by an employer or group or association of employers, which has no employee
participants and does not provide benefits to employees or their dependents, regardless of
whether the program serves as a conduit through which funds or other assets are channelled
to employee benefit plans covered under Title I of the Act.

This exception appears to apply by its terms to all or most of the Center’s Activities.

Detailed Analysis by Activity

A number of the Center’s Activities can be ruled out fairly immediately, in the Center’s view,
as employee benefit plans within the meaning of ERISA. These most evident cases are discussed first
as a miscellaneous group, below.

A second category of Activities that are instructional in nature - WCMA and Health and
Safety Training and Research — are discussed next.

The remaining three Activities —Tuition Assistance Program, Circle of Life Network, and
Employee Assistance Program — bear individualized analysis and are discussed in turn after the
discussion of the other Activities.

MISCELLANEOUS ACTIVITIES

1. New Hire Orientation: The Center conducts 1-2 day orientation sessions for newly hired
Company hourly employees represented by UAW who are based in the southeast Michigan region.
(Other new employees receive orientation provided by their local Company plants.) These sessions

are typically held at the Center or at the NTC’s specially dedicated WCMA facility in Warren,
Michigan.

2. Publications: The Center produces several employee-oriented publications, including
Tomorrow Magazine, on an ad hoc basis (Tomorrow being published on roughly a quarterly
schedule).

3. Artist at Work Exhibition: This is an annual Activity pursuant to which Company
employees are invited to submit works of art they have created to a jury of art judges; winning
artwork is exhibited at the Center and at the WCMA facility in Warren, Michigan.

00508546. DOC4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.395 Page 7 of11

Page 7
October 20, 2014

4. Diversity Activities: The Center conducts 1-2 day training sessions on developing and
valuing diversity within the workplace, including sensitivity training aimed at gender, racial and
other issues. These sessions are ad hoc in nature; can involve selected employees from a variety of
sites or occasionally an entire plant or shift.

5. Workplace Violence Prevention Program: Similarly to its Diversity Activities, the Center
conducts 1-2 day, “train-the-trainer” sessions aimed at reducing the risk of workplace violence. Like
the Diversity Activities, these sessions are ad hoc in nature and typically involve selected employees
selected to participate from specific plants, and who are expected to put in place in their plants the
techniques learned at the Center.

6. Miscellaneous Other Conferences and Events Coordinated by the Center:

- Youth School-to-Work Program

- Union and Company Awareness Program
- Employee Participation Conference

- Ergonomics Classes

- Health Awareness Conference

- Local Training Facilitator Program

- National Paid Education Leave Program

In the Center’s view, none of the above Activities involves the threshold concept of an
“employee benefit” within the meaning of ERISA — let alone an employee benefit “plan, fund or
program.” In particular, none of these Activities provides even arguably, in the Center’s view, any of
the benefits in the enumerated list in ERISA Section 3(1).

INSTRUCTIONAL ACTIVITIES

1. World Class Manufacturing Academy (“WCMA”): The WCMA refers to facilities and
programs administered by the Center to train hourly Company employees as to machinery and
equipment as part of Company operations. Such training occurs either at the Center itself, at
Company plants or at the NTC’s specially dedicated WCMA facility in Warren, Michigan.

2. Health and Safety Training and Research: The Center conducts, on an ad hoc basis as
needed, training sessions designed to improve employee health and safety. Such sessions can involve
“train the trainer” events, designed to prepare specific plant employees to convey safety information
to other employees; group training sessions; or, in some cases, entire plants and shifts.

In the Center’s view, none of these instructional Activities involves the type of “training” that
would rise to the level of an “employee benefit.” As noted above, these Activities are analogous to
any employer’s instructing an employee as to how he or she is expected to perform his or her job.
Because of the size and scale of the Company’s operations, such instruction has been formalized and
centralized, in many cases, with the Center. The Activities involve, as indicated, simple guidance as
to how to perform an employee’s duties — not “training” that can lead, for example, to a new career
or more advanced job specification. For these Activities to be considered “employee benefits,” any
instruction by an employer to an employee as to job performance would have to be so considered;
and plainly that was not Congress’s intent.

00508546. DOC-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.396 Page 8 of11

Page 8
October 20, 2014

Even if these instructional Activities did involve an “employee benefit” within the meaning
of ERISA, they would not constitute a “plan, fund or program” under the Dillingham analysis
discussed above. They do not involve any standing program or document that an employee could
consult or cite by way of “claiming” any right to instruction. The programs are, as indicated,
conducted on an ad hoc — but usually mandatory — basis as necessary for smooth Company
operations. Accordingly there would be no way to “ascertain the intended benefits,” as required
under Dillingham in order to be an employee benefit plan.

ADDITIONAL ACTIVITIES

1. Tuition Assistance Program (“TAP”); The Center administers the TAP, pursuant to which
eligible Company employees can receive Company-paid tuition, for qualifying classes offered by
eligible educational instutions.

Such plans are not subject to ERISA. Department of Labor Regulation §2510.3-1(k) excludes
from the definition of “employee benefit plan”:

(k) Unfunded scholarship programs. For purposes of title I of the Act and this chapter, the
terms “employee welfare benefit plan” and “welfare plan” shall not include a scholarship
program, including a tuition and education expense refund program, under which payments
are made solely from the general assets of an employer or employee organization.

This exclusion applies to the TAP administered through the Center. Like all other Activities,
the TAP is not “funded,” within the meaning accorded that term under ERISA. Money for this
Activity is not segregated; no participant has any right to any assets of the Center (or of the
Company) with respect to this Activity. Amounts required to provide reimbursement under the TAP
are simply forwarded, within approximately a month of the need,” to the Center, whose role is at
most as an “administrator” of the Plan.’ There is no authority for treating such an arrangement, where
the employer forwards its own unsegregated assets to an administrator for the short-term purpose of
administering benefits, as “funded” — and indeed, doing so would be tantamount to regarding any
third-party plan administrator as itself an ERISA “plan.”

As described above, in Wright Elec. v. Minn. State Bd. of Elec., 2002 U.S. Dist. LEXIS 5783,
27 EBC 2533 (D. Minn. 2002), the District Court concluded that a separate foundation financed on a
“pass-through” expense basis could not constitute a “fund” within the meaning of ERISA — and this
conclusion was reached despite the fact that the contributions in question, in contrast to the Center,
involved employee contributions,

 

* We note that, in Regulation 29 C.F.R. § 2510.3-102c), the DOL has provided that participant contributions to a
welfare benefit plan will be considered “plan assets” — which must be segregated in trust or used to pay benefits or
defray plan expenses — no later than 90 days after their receipt by the sponsoring employer. This Regulation is not
directly applicable to the present case (it involves participant contributions, of which the Center receives none), and
the 90-day period is a maximum, “unsafe harbor.” The provision nonetheless suggests the DOL’s view that holding
assets as long as 90 days is consistent with the conclusion that assets are not being “accumulated” in a manner
sufficient to invoke the requirements of ERISA.

} Until 2012 TAP checks were not in fact written by the Center. Instead the Center simply issued a request to the
Company to issue checks directly to educational institutions. For administrative convenience this arrangement was
changed in 2012 to the current system by which Chrysler provides the money for distribution by the Center,

00508546, DOC-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.397 Page 9of11

Page 9
October 20, 2014

The analysis also follows from judicial authority and DOL guidance concerning “advance
and recapture” vacation arrangements, which were presented in a series of cases in which employers
attempted to circumvent state vacation-pay laws by “funding” vacation plans on a pay-as-you-go
basis through a separate trust. Courts and the DOL concluded that such arrangements were not
“funded” within the meaning of ERISA, even in situations where employers maintained meaningful
assets in the trust, and trust funds were required by their terms to be used only to pay or reimburse
the employer for vacation benefits. As stated by the DOL in a 2004 Advisory Opinion Letter on the
subject:

The fact that the Trust documents may be read to impose a legal obligation on [the employer]
to contribute amounts every two weeks sufficient to pay vacation wages as they become due,
and the fact that [the employer] may voluntarily maintain a minimum balance of $250,000 in
the Trust does not, in the Department’s view, operate to change the essential nature of the
Trust as a mere pass-through vehicle for the employer’s payment of ordinary vacation wages
or result in the Trust constituting a separate fund that provides genuine protections for the
approximately $8 million in benefits that accrue under the plan each year.

DOL Advisory Opinion 2004-08A (July 2, 2004) (emph. added).

With respect to a similar arrangement, where a relatively low balance was maintained in the trust, the
U.S. Court of Appeals for the Ninth Circuit stated that:

Under this scenario, the employee is relying on the financial health of [the employer], not
that of the trust, for his or her regular sick leave payments. “If there is a danger of defeated
expectations, it is no different from the danger of defeated expectations of wages for services
performed - a danger Congress chose not to regulate in ERISA.”

Alaska Airlines v. Oregon Bureau of Labor, 122 F.3d 812 (1997) (quoting Massachusetts v.
Morash, 490 U.S. 107, 115 (1989).

See also Czechowski v. Tandy Corp., 731 F. Supp. 406, 408 (N.D. Cal. 1990) (emphasizing that the
trust at issue was not subject to ERISA “since no funds are accumulated in it.”); Shrivastava v. Fry’s
Elecs., 2011 U.S. Dist. LEXIS 96714 (N.D. Cal. 2011); Gilbert v. Securitas Sec. Servs., 2007 U.S.
Dist. LEXIS 102412 (C.D. Cal. 2007).

It should be noted that the above authorities ruling out the existence of a “fund” all involved
the establishment of an actual formal trust, against the assets of which an employee would have
directly legally enforceable rights — in marked contrast to the situation with the Center. As
acknowledged by the above courts, as well as the DOL, to conclude that a “fund” within the meaning
of ERISA exists where expenses of a pass-through entity — even a trust — are advanced on a pay-as-
you-go basis would give rise to the opportunity, which the employers in the above cases all sought to

 

‘These “advance and recapture” cases all involved situations where benefits were directly paid by the employer,
followed by reimbursement of the employer from the trust. But that is a formal difference from the Center, involving
only the sequence and routing of fund-flow. The economic substance, under which no assets are “accumulated,” is
the same; with the crucial differences that the Center does not even constitute a trust and employees have no legally
enforceable rights against it with respect to benefits. Even more so than in the cases above, employees must
effectively look exclusively to the employer for security as to financing of Activities.

00508546.DOC-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.398 Page 10 of 11

Page 10
October 20, 2014

seize, of avoiding the application of protective state laws through the adoption of a merely formal
arrangement. Further, concluding that pass-through reimbursement of the expenses of a third party
through which benefits are offered gives rise to a “fund” would also, as noted above, require
concluding that any benefit program administered through a third-party administrator, or TPA, is
therefore by definition “funded,” an intolerable result.

Finally, whatever the analysis under the above regulation, it is questionable whether
education benefits such as those provided under the TAP are even “employee benefits” within the
meaning of ERISA. At least one Court of Appeals has held that they are not. Kemp v. IBM, 109 F.3d
708, 713-14 (11 Cir. 1997). That conclusion is consistent, for instance, with historical tax
authorities pursuant to which education benefits provided to assist an employee in performing his or
her duties have been held not to constitute “wages.” (See, for example, Internal Revenue Service
Revenue Ruling 76-71, 1976-1 Cum. Bull. 308.) As discussed with regard to the instructional
Activities above, this result simply makes sense: Education or instruction undertaken to assist an
employee in performing his or her assigned duties is not in its essence a compensatory “employee
benefit.” This type of education or instruction involves, effectively, informing an employee how to
do his or her job, not compensating the employee for doing that job.

2. Circle of Life Network: This Activity involves a collection of alliances with local
providers as to such things as child/elder care, to which the Center can refer Company employees for
assistance with family care and similar issues. The Activity also includes a dependent care assistance
program, or “DCAP.” As the Department has indicated, an unfunded DCAP limited to
reimbursement of dependent care services freely chosen by each participating employee, rather than
the employer's provision of any specific day care center, is not the type of benefit described in
ERISA Section 3(1) and thus does not constitute an employee welfare benefit plan within the
meaning of section 3(1) of Title I of ERISA. See D.O.L. Adv. Op. 93-25A (Sept. 3, 1993). This
description applies to the DCAP provided through the Circle of Life Activity. (For further analysis of
“unfunded” status, see also the discussion above concerning the TAP.)

3. Employee Assistance Program (“EAP”): The EAP, administered through the Center,
provides referrals intended to assist employees who encounter personal or family-related issues,
including substance-abuse and other problems. The EAP is, like the other Activities, unfunded as
described above, and involves referrals to qualified counselors rather than the direct provision by the
Center of counseling or other treatment. Accordingly the EAP is not an “employee benefit plan,” as
indicated by the Department of Labor in advisory guidance concerning employee assistance
programs. See, e.g. D.O.L. Adv. Op. 88-04A (March 11, 1988).

Even were the EAP an employee benefit plan, the Center does not itself provide referrals or
any other direct employee services under the EAP. Instead the Center’s role is limited to a “train the
trainer” function whereby the Center furnishes initial and continuing training to those local UAW
representatives who are tasked with staffing the EAP, and whose salaries are entirely paid, directly,
by the Company. The Center arranges and hosts training at its facilities for the those
reprepresentatives, advancing or reimbursing their transportation and hotel costs from the amounts
received by the the Center from Company on the monthly basis described above. The Center does
not “administer,” and certainly cannot be itself regarded as, the EAP.

00508546.DO0C-4
Case 2:18-mc-51223-PDB ECF No. 20-2 filed 03/01/19 PagelID.399 Page 11 of11

Page 11
October 20, 2014

CONCLUSION

In summary, for the reasons discussed above, neither the Center nor the activities conducted
through the Center are “employee benefits plans” within the meaning of ERISA. Accordingly EBSA
does not have jurisdiction to conduct an investigation.

If you have any questions, please feel free to contact me at the number given above.

Very truly yours,
STEVENSON KEPPELMAN ASSOCIATES

AA We Stor

Andrew W. Stumpff

AWS/kmz

Attachments

ce! Jerome Hill, UAW Chrysler National Training Center
L. Joe Rivers, Regional Director, Employee Benefits Security Administration
Meghann Wilkinson, Employee Benefits Security Administration

00508546.D0C-4
